                   UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

IN THE MATTER OF:
Rose Marie Forrest                                 Bankruptcy Case No. 24-44513
                                                   Honorable Mark A. Randon
                     Debtor.                       Chapter 7
________________________________/

         MOTION FOR PRODUCTION OF DOCUMENTS
   AND TO EXTEND DEADLINES FOR FILING (1) A COMPLAINT
 OBJECTING TO THE DEBTOR’S DISCHARGE UNDER 11 U.S.C. §727
           AND (2) A MOTION UNDER 11 U.S.C. §707

      The Chapter 7 Trustee, Michael A. Stevenson by his counsel, Stevenson &

Bullock PLC, moves this court for an Order for Production of Documents and to

Extend the Deadlines for Filing (1) a Complaint Objecting to the Debtor’s Discharge

Under 11 U.S.C. §727 and (2) a Motion Under 11 U.S.C. §707. (See Exhibit 1).

      IN SUPPORT of the motion, the Trustee states:

                                 JURISDICTION

      1.    This motion is brought pursuant to Fed. R. Bankr. P. 2004, E.D. Mich.

L.B.R. 2004-1, Fed. R. Bankr. P. 7031, Fed. R. Civ. Pro. 31, and F.R.Bankr.P. 9014

and 4004(b) for an order requiring the Debtor to produce documents and to extend the

deadlines for filing a complaint objecting to the Debtor’s discharge and a motion

under 11 U.S.C. §707.

      2.    This court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334

and this is a core proceeding pursuant to 28 U.S.C. § 157(a) and (b).


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                                       FACTS

      3.      On May 6, 2024, Rose Marie Forrest (the “Debtor”) filed a voluntary

petition under Chapter 7 of the Bankruptcy Code.

      4.      Michael A. Stevenson (the “Trustee”) is the duly appointed Chapter 7

Trustee of the estate of the Debtor.

      5.      The deadline to file a complaint determining dischargeability of debt and

objecting to the discharge of the Debtor is August 12, 2024; the deadline to file a

motion under 11 U.S.C. §707 is also August 12, 2024.

      6.      On June 13, 2024, the Debtor attended her 341 Meeting of Creditors, at

which time the Trustee’s counsel questioned the Debtor and inquired as to if the

Debtor would stipulate to produce documents and extend certain deadlines; the Debtor

agreed to stipulate and verified her email address for a proposed stipulation and order

to be forwarded to her.

      7.      The same day, the Trustee’s counsel emailed the Debtor the proposed

stipulation and order for the production of documentation and information related to

the Debtor’s financial affairs and extending the deadlines for filing objections to

discharge, a motion under 707, and a declination or motion to dismiss under 11 U.S.C.

§707(b)(2).

      7.      As of today’s date, the Debtor has not acknowledged receipt of the

proposed stipulation and order, nor has she approved same.

      8.      Records produced to the Trustee to date make it impossible for the

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Trustee to complete his due diligence regarding the Debtor’s financial affairs.

                                    ARGUMENT

      9.     It is necessary for the Trustee to obtain the records described in the

proposed order in order to investigate the value of the bankruptcy estate’s interest in

the Debtor’s ongoing business, the disclosed assets of the Debtor, any potential

preferential and/or fraudulent transfers, and any other assets of the bankruptcy estate.

      10.    F.R.Bankr.P. 4004(b) and 9006 permit the Court, for cause, to extend

the time for filing a complaint objecting to discharge and for filing a motion under

11 U.S.C. §707.

      11.    Cause exists to extend the time of filing a complaint objecting to

discharge and a motion under 11 U.S.C. §707 as the Trustee has been able to

complete his due diligence due to the Debtor’s failure to produce the documents

required by 11 U.S.C. § 521 and L.B.R. 2003-2(b), and the Debtor’s failure to

stipulate to the production of the documents.

      WHEREFORE, the Trustee requests that this Court enter an order requiring

Rose Marie Forrest to produce and turn over to the Trustee the records identified in

the proposed order attached hereto as Exhibit 1 and to extend the deadlines to file an

objection to the Debtor’s discharge and motion under 11 U.S.C. §707.




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                                              Respectfully submitted:

                                              STEVENSON & BULLOCK, P.L.C.

                                              /s/ Sonya N. Goll (P61136)
                                              Sonya N. Goll
                                              Attorney for Trustee
                                              26100 American Dr., Suite 500
                                              Southfield, MI 48034
Dated:   June 18, 2024                        (248) 354-7906
                                              sgoll@sbplclaw.com




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                                    EXHIBIT 1

                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

IN THE MATTER OF:
Rose Marie Forrest                                   Bankruptcy Case No. 24-44513
                                                     Honorable Mark A. Randon
                     Debtor.                         Chapter 7
________________________________/

 ORDER GRANTING MOTION FOR PRODUCTION OF DOCUMENTS
   AND TO EXTEND DEADLINES FOR FILING (1) A COMPLAINT
 OBJECTING TO THE DEBTOR’S DISCHARGE UNDER 11 U.S.C. §727
           AND (2) A MOTION UNDER 11 U.S.C. §707

      This matter having come before the Court upon the Chapter 7 Trustee’s Motion

for Production of Documents and to Extend the Deadlines for Filing (1) a Complaint

Objecting to the Debtor’s Discharge Under 11 U.S.C. §727 and (2) a Motion Under 11

U.S.C. §707; notice having been given pursuant to applicable bankruptcy rules; no

objection or request for hearing having been made or filed in response thereto; and the

Court being duly advised in the premises:

      IT IS HEREBY ORDERED that Trustee’s Motion for Production of

Documents and to Extend the Deadlines for Filing (1) a Complaint Objecting to the

Debtor’s Discharge Under 11 U.S.C. §727 and (2) a Motion Under 11 U.S.C. §707 is

granted.

      IT IS FURTHER ORDERED that Rose Marie Forrest (the “Debtor”)

shall produce and turn over the financial records and other documents identified


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below in her possession, custody, control or obtainable upon reasonable efforts, to

the Chapter 7 Trustee’s counsel, Sonya N. Goll, at the law firm of Stevenson &

Bullock PLC, 21600 American Dr., Ste. 500, Southfield, MI 48034 on or before

close of business July 11, 2024:

      For Personal:

        1.     Complete copies of the May 6, 2022 through May 6, 2024
               statements for the Debtor’s checking and savings accounts at
               Independent Bank, the Debtor’s Cash App account, and any other
               bank, financial, brokerage, or retirement accounts in the Debtor’s
               name, either individually or jointly, or for which the Debtor is an
               authorized user or for which the Debtor has money deposited into;
        2.     Complete copies of the Debtor’s federal and state income tax returns
               with all schedules, statements, W-2s, 1099s, and K-1 statements for
               the last two years the Debtor filed tax returns; and
        3.     Proof of all payments made by the Debtor to any universities,
               colleges or trade schools for any of the Debtor’s children within the
               last six (6) years.

      For The Jamaican Pot, for Jamaican Pot, Inc., and for Jamaican Pot New
      Center, LLC:

        1.     Detailed profit and loss statements for 2023 and for 2024 through
               date of filing;
        2.     balance sheet for 2023 and for 2024 through date of filing;
        3.     accounts receivables statement as of the date of filing;
        4.     accounts payables statement as of the date of filing;
        5.     asset list as of the date of filing;
        6.     the May 6, 2022 through May 6, 2024 statements for any and all
               bank, financial or brokerage accounts open in the last two years for
               the business, including, but not limited to, the Chase checking
               account ending in 9615 and the Chase checking account ending in
               9686, and copies of all cancelled checks or legible check registers or
               ledgers if cancelled checks not available for the same time period;
        7.     copies of the most recent financial statement;
        8.     copies of the operating agreement and any subsequent amendments;


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         9.    the May 6, 2022 through May 6, 2024 copies of all paid
               invoices/receipts;
         10.   the May 6, 2022 through May 6, 2024 of copies of all outstanding
               invoices;
         11.   copies of all insurance policies;
         12.   copies of the bylaws;
         13.   a list of current and/or former employees with address, telephone
               number, positions and pay;
         14.   copies of all reports of any monies or other consideration disbursed
               to shareholders/partners/members from 2016 to the present;
         15.   copies of any and all books and records kept by the business entity
               in its normal course of business;
         16.   copies of all records of any purchase, sale or lease of real or personal
               property involving the entity since 2017;
         17.   copies of all general ledgers;
         18.   copies of all contracts for 2023 and for 2024;
         19.   Last 4 quarterly federal and state payroll tax returns;
         20.   Sales tax returns for the previous 12 months;
         21.   Book and tax depreciation schedule for the past 3 years;
         22.   the complete website address or addresses for the business;
         23.   the Facebook page name for the business;
         24.   Copy of notes to financial statements;
         25.   List of and copies of all patents and other intellectual property
               works;
         26.   List of any enforcement action(s) with environmental authorities;
         27.   Copy of all long-term supply agreements with customers;
         28.   Sales projection by product and by customer for next five years;
         29.   Depreciation schedules including 179 depreciation and bonus
               depreciation;
         30.   Copy of collective bargaining agreement;
         31.   List of all safety deposit boxes with inventory of contents;
         32.   List of all foreign bank accounts;
         33.   Copy of all bids submitted to customers for future work; and
         34.   Copy of all franchise agreements.

    IT IS FURTHER ORDERED that if the Debtor does not provide the

Trustee’s counsel with any of the documents specified above, then no later than

close of business, July 11, 2024, the Debtor shall file with the Court an affidavit


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attesting to what documents were not provided, why each document was not

provided, what steps the Debtor took to obtain the documents, and, if the

requested document(s) which was not/were not produce exist, the name of the

individual(s) who has/have the document(s), their relation to the Debtor, and

their contact information. If, in the Trustee’s opinion, the explanations given in

the affidavit for why the documents were not produced are insufficient, or if the

Debtor does not file an affidavit as to the missing documents the Trustee shall

file an affidavit and the Court may immediately schedule a hearing to determine

the adequacy of the Debtor’s explanation, the Debtor’s failure to produce the

required documents, if the Debtor should be held in contempt of court, and if

sanctions, including, but not limited to, attorney fees and costs should be

assessed against the Debtor.

    IT IS FURTHER ORDERED that the deadline to file Objections to

Debtor’s Discharge is extended to October 14, 2024 as to Trustee Michael A.

Stevenson and the United States Trustee.

    IT IS FURTHER ORDERED that the deadline to file a motion pursuant

to 11 U.S.C. §707 is extended to October 14, 2024 as to Trustee Michael A.

Stevenson and the United States Trustee.

      IT IS FURTHER ORDERED that the Debtor is precluded from objecting to

the late filing of a Declination or Motion to Dismiss under 11 U.S.C. § 707(b)(2) by

the U.S. Trustee, provided said motion or declination is filed on or before September

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13, 2024.




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                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION
   IN THE MATTER OF:
   Rose Marie Forrest                                            Bankruptcy Case No. 24-44513
                                                                 Honorable Mark A. Randon
                           Debtor.                               Chapter 7
   ________________________________/
        NOTICE OF TRUSTEE’S MOTION FOR PRODUCTION OF DOCUMENTS
     AND TO EXTEND DEADLINES FOR FILING (1) A COMPLAINT OBJECTING TO
    THE DEBTOR’S DISCHARGE UNDER 11 U.S.C. §727 AND (2) A MOTION UNDER 11
                                     U.S.C. §707

    The Trustee, Michael A. Stevenson, by and through his counsel, Stevenson & Bullock, P.L.C. has
filed a Motion for Production of Documents and to Extend the Deadlines for Filing (1) a Complaint
Objecting to the Debtor’s Discharge Under 11 U.S.C. §727 and (2) a Motion Under 11 U.S.C. §707.

   Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may
wish to consult one.)

   If you do not want the court to grant the relief sought by Trustee, or if you want the court to
consider your views on the Motion, within 14 days, you or your attorney must:

   1.       File with the court a written response or an answer, explaining your position at:
        United States Bankruptcy Court, 211 W. Fort Street, 21st Floor, Detroit, MI 48226

   If you mail your response to the court for filing, you must mail it early enough so the court will
receive it on or before the date stated above. You must mail a copy to:

Sonya N. Goll, 26100 American Dr., Suite 500 Southfield, MI 48034; and
Office of the U.S. Trustee, 211 W. Fort Street, Suite 700, Detroit, MI 48226.
        2.         If a response or answer is timely filed and served, the clerk will schedule a
                   hearing on the Motion and you will be served with a notice of the date, time and
                   locations of the hearing.
    If you or your attorney do not take these steps, the court may decide that you do not oppose
the relief sought in the Motion and may enter an order granting relief.

                                                  /s/ Sonya N. Goll
   June 18, 2024                                  Attorney for the Trustee
                                                  26100 American Dr., Suite 500
                                                  Southfield, MI 48034
                                                  (248) 354-7906
                                                  sgoll@sbplclaw.com
                                               Exhibit 2



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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

IN THE MATTER OF:
Rose Marie Forrest                                  Bankruptcy Case No. 24-44513
                                                    Honorable Mark A. Randon
                     Debtor.                        Chapter 7
________________________________/

                               PROOF OF SERVICE

   Sonya N. Goll of Stevenson & Bullock, P.L.C., hereby certifies that on the 18th day

of June, 2024, a copy of Trustee’s Motion for Production of Documents and to

Extend the Deadlines for Filing (1) a Complaint Objecting to the Debtor’s

Discharge Under 11 U.S.C. §727 and (2) a Motion Under 11 U.S.C. §707, a

Proposed Order, Notice of Motion, and this Proof of Service was served

electronically to:


  Office of the U.S. Trustee                Rose Marie Forrest at
                                            Rosemarie1228@yahoo.com
                                            Michael A. Stevenson, at
                                            mstevenson@sbplclaw.com


                                       /s/ Sonya N. Goll (P61136)
                                       26100 American Dr., Suite 500
                                       Southfield, MI 48034
                                       (248) 354-7906
                                       sgoll@sbplclaw.com




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